Case 21-54419-pmb         Doc 37    Filed 04/12/22 Entered 04/12/22 16:16:56           Desc Main
                                   Document      Page 1 of 12



                        THE PATEL LAW GROUP, LLC
                                   1995 N. Park Pl, SE, Ste 565
                                       Atlanta, GA 30339

                                          April 12, 2022

Felissa Anne Grissett
PO Box 1233
Loris, SC 29569

RE: Bankruptcy Case No. 21-54419


Dear Mr./Mrs. Grissett:

Enclosed you will find a Notification of Intent to Request Permission to Withdraw and a Certificate
of Service listing all of the parties in your case. The Patel Law Group, LLC desires to withdraw as
your counsel of record.

The Motion to Withdraw will not be filed until 14 days have passed. If you have any objections to
our withdrawal, you must make them known to our firm within that time period.

After the Motion to Withdraw is filed with the Clerk of the U. S. Bankruptcy Court, any objection
to the Motion to Withdraw must be filed within fourteen days after service of the Motion at the
Office of the Bankruptcy Clerk, U.S. Bankruptcy Court, Suite 1340, 75 Ted Turner Drive, SW,
Atlanta, GA 30303. Once the Court has signed the Order permitting us to withdraw, we will no
longer be your Counsel of Record. You will have no counsel.

I urge you to obtain new counsel immediately. If your new counsel has any questions concerning
your case, please indicate to your new counsel that he or she may feel free to contact Patel Law
Group, LLC.


Respectfully,
Rushi Patel
Rushi Patel
THE PATEL LAW GROUP, LLC
1995 N Park Pl., SE, Ste 565
Atlanta, Georgia 30339
(404) 490-2998
rdp@patel-legal.com
Case 21-54419-pmb          Doc 37    Filed 04/12/22 Entered 04/12/22 16:16:56           Desc Main
                                    Document      Page 2 of 12



                            IN THE UNITED STATES BANKRUPTCY
                              NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

 IN RE:                                           |
                                                  |
 Grissett, Felissa Anne,                          |           Case No. 21-54419-PMB
                                                  |
                              Debtor.             |           Chapter 13
                                                  |

       NOTIFICATION OF INTENT TO REQUEST PERMISSION TO WITHDRAW

       This is a Notice to Felissa Anne Grissett, Debtor in the above styled bankruptcy action,

from his attorney of record, The Patel Law Group, LLC (the “Law Firm”).


                                                 1.

       The Patel Law Group, LLC wishes to withdraw as attorney of record for Debtor and intends

to file a Motion to Withdraw due to the following facts: Debtor and the Law Firm have reached a

position in which the Debtor seeks to pursue claims despite the advice of counsel – causing the

Law Firm to be unable to adequately represent Debtor. Debtor through a request for hearing field

April 7, 2022 (Doc. 34), has informed the Court that she feels that the Law Firm is not acting on

her behalf. In the same document, she has specifically informed the Court that the Law Firm failed

to file a Change of Address as she requested – which the Law Firm filed on March 28, 2022.

Additionally, Debtor has included several causes of action which she wishes to pursue through the

jurisdiction of the Court which the Law Firm has informed her she is not able to do. Finally, Debtor

seeks to pursue causes of action against the Chapter 13 Trustee and her mortgage lender despite

advice from the Law Firm. The Law Firm is unable to pursue these causes of action either because

they are outside of the scope of agreed upon representation or because the causes have no grounds.
Case 21-54419-pmb        Doc 37    Filed 04/12/22 Entered 04/12/22 16:16:56            Desc Main
                                  Document      Page 3 of 12



                                                2.

       A Motion to Withdraw will be filed 14 days after the mailing of this Notification. Any

objection to the Motion to Withdraw must be filed within 14 days after service of this Notification

at the Office of the Bankruptcy Clerk, U.S. Bankruptcy Court, Suite 1340, 75 Ted Turner Drive,

SW, Atlanta, GA 30303. The Clerk's telephone number is (404) 215-1000.

                                                3.

       The Bankruptcy Court retains jurisdiction in this matter.

                                                4.

       The following parties are opposing counsel in this case:

                                       Heather D. Bock
                              McCalla Raymer Leibert Pierce LLC
                                    1544 Old Alabama Road
                                      Roswell, GA 30076
                                        (678) 281-6444
                                      678-281-6444 (fax)
                        representing Village Capital & Investment, LLC

                                         Laura A. Grifka
                                 McMichael Taylor Gray, LLC
                                    3550 Engineering Drive
                                            Suite 260
                                 Peachtree Corners, GA 30092
                                          404-474-7149
                                      lgrifka@mtglaw.com
                          representing U.S. Bank National Association

                                    A. Michelle Hart Ippoliti
                              McCalla Raymer Leibert Pierce, LLC
                                    1544 Old Alabama Road
                                      Roswell, GA 30076
                                          678-281-6537
                                      678-281-6537 (fax)
                                Michelle.ippoliti@mccalla.com
                         representing Village Capital & Investment, LLC
Case 21-54419-pmb        Doc 37    Filed 04/12/22 Entered 04/12/22 16:16:56             Desc Main
                                  Document      Page 4 of 12



                                       Ciro A. Mestres
                             McCalla Raymer Leibert Pierce, LLC
                                   1544 Old Alabama Road
                                      Roswell, GA 30076
                                        (678) 281-6516
                                     (678) 281-6516 (fax)
                                  Ciro.Mestres@mccalla.com
                        Representing Village Capital & Investment, LLC


                                                5.

       The Trustee for this case is Melissa J. Davey, Standing Chapter 13 Trustee, Suite 2250

233 Peachtree Street NE, Atlanta, GA 30303.

                                                6.

       If the withdrawal of The Patel Law Group, LLC is permitted

              (a) Debtor will have the obligation to promptly file with the Bankruptcy

       Court and mail to the Trustee and all of his creditors or their counsel,

       a written statement showing:

                      (1) the case caption and case number, and

                      (2) current telephone number and mailing address, and

                      (3) Debtor shall amend the statement promptly, should there

                      be any changes in telephone number or mailing address;

              (b) Debtor will have the obligation to respond to any discovery or

       motions, to take other actions as are appropriate or required, and to

       prepare for any trial or hearing that may be scheduled in any matter, or

       hire other counsel to do so;

              (c) Debtor's failure or refusal to meet these obligations may result in

              adverse consequences;
Case 21-54419-pmb          Doc 37    Filed 04/12/22 Entered 04/12/22 16:16:56          Desc Main
                                    Document      Page 5 of 12



               (d) Debtor will have to complete and file with the Court any required

       documentation such as the Financial Management Certificate; and

               (e) Service of notices, pleadings, and other papers may be made upon the

       Debtor at his last known address.

                                                7.

       The Patel Law Group, LLC is currently aware of the following hearings or trials in

Debtor's case or any applicable deadlines:

               (a) Objection to Transfer of Claim filed directly by the Debtor on April 6, 2022.

                   A hearing has been set for May 19, 2022 at 10:15 AM in Courtroom 1202.

                   Notice was served to Debtor at her address.

               (b) Deadline to Complete Financial Management Course: to be completed and file

                   423 to be filed no later than the last payment due under Debtor’s Chapter 13

                   Plan.

               (c) Tax Returns or Tax Affidavits to be provided to the Chapter 13 Trustee for tax

                   periods 2022 and 2023.

 The holding of any hearings or trials and any deadlines will not be affected by the withdrawal of

counsel.



Date: April 12, 2022                                 Respectfully,

                                                     THE PATEL LAW GROUP, LLC

                                                     ___                              /s/
                                                     Rushi Patel, Attorney for Debtor
                                                     Georgia Bar No. 791855
                                                     1995 N. Park Pl. SE, Ste 565
                                                     Atlanta, Georgia 30339
                                                     (404) 490-2998 / rdp@patel-legal.com
Case 21-54419-pmb          Doc 37    Filed 04/12/22 Entered 04/12/22 16:16:56          Desc Main
                                    Document      Page 6 of 12



                            IN THE UNITED STATES BANKRUPTCY
                              NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

 IN RE:                                          |
                                                 |
 Grissett, Felissa Anne,                         |           Case No. 21-54419-PMB
                                                 |
                              Debtor(s).         |           Chapter 13
                                                 |

                                    MOTION TO WITHDRAW

            COMES NOW The Patel Law Group, LLC, attorneys of record for Debtor, Felissa

Anne Grissett, PO Box 1233, Loris, SC 29569, whose last known telephone number is 678-670-

6460, and requests this Court to enter an Order allowing The Patel Law Group, LLC to withdraw

as counsel herein and shows the Court the following:

                                                1.

       Debtor seeks to act in contravention to the legal advice provided by Counsel, seeks legal

services outside of the scope of her agreement with Counsel, and has acted to represent herself in

matters. She has informed Counsel that she is not satisfied with Counsel’s representation.

Furthermore, Counsel is unable to acquiesce to Debtor’s requests as said requests would require

Counsel to act in violation to Counsel’s legal and ethical requirements.

                                                2.

       Pursuant to Bankruptcy Rule 9010-5b(1), Movant has served the Debtor, Felissa Anne

Grissett, with a Notification of Intent to Request Permission to Withdraw by depositing same in

the U.S. Mail, properly addressed and with sufficient postage thereon to ensure delivery. The

Notification of Intention to Request Permission to Withdraw was mailed 14 days prior to filing

this Motion. The Notification of Intent to Request Permission to Withdraw is attached hereto.
Case 21-54419-pmb       Doc 37    Filed 04/12/22 Entered 04/12/22 16:16:56           Desc Main
                                 Document      Page 7 of 12



       WHEREFORE, The Patel Law Group, LLC requests this Court to issue an Order

permitting withdrawal as counsel for the Debtor, Felissa Anne Grissett.



Date: April 12, 2022

                                                                                   Respectfully,

                                                              THE PATEL LAW GROUP, LLC

                                                             ___                              /s/
                                                                Rushi Patel, Attorney for Debtor
                                                                       Georgia Bar No. 791855
                                                              1995 North Park Pl., SE, Suite 565
                                                                        Atlanta, Georgia 30339
                                                                                 (404) 490-2998
                                                                           rdp@patel-legal.com
Case 21-54419-pmb          Doc 37    Filed 04/12/22 Entered 04/12/22 16:16:56          Desc Main
                                    Document      Page 8 of 12



                            IN THE UNITED STATES BANKRUPTCY
                              NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

 IN RE:                                          |
                                                 |
 Grissett, Felissa Anne,                         |            Case No. 21-54419-PMB
                                                 |
                              Debtor(s).         |            Chapter 13
                                                 |

                                 CERTIFICATE OF SERVICE

        I hereby certify that I am more than 18 years of age, and that on this day, I served a copy
of the within "Notification of Intent to Request Permission to Withdraw" and "Motion to
Withdraw" upon the following by depositing a copy of same in U.S. Mail with sufficient postage
affixed thereon, or otherwise noted, to ensure delivery to:

Debtor: Felissa Anne Grissett, PO Box 1233, Loris, SC 29569

Electronic Notice via ECF:

Melissa J. Davey, Ch. 13 Trustee

Regular First-Class Mail:

[See Attached Matrix]


       Dated: April 12, 2022                                THE PATEL LAW GROUP

                                                            /s/_________________________
                                                            Rushi Patel, Attorney for Debtor
                                                            Georgia Bar No. 791855
                                                            1995 North Park Pl., SE, Suite 565
                                                            Atlanta, Georgia 30339
                                                            (404) 490-2998
                                                            rdp@patel-legal.com
               Case 21-54419-pmb        Doc 37   Filed 04/12/22            Entered 04/12/22 16:16:56      Desc Main
Label Matrix for local noticing             1st Franklin
                                                Document Financial Page 9 of 12             1st Franklin Financial
113E-1                                      135 E. Tugalo Street                            228 John Frank Ward Blvd
Case 21-54419-pmb                           Po Box 880                                      McDonough, GA 30253-3209
Northern District of Georgia                Toccoa, GA 30577-0880
Atlanta
Tue Apr 12 16:12:03 EDT 2022
(p)1ST FRANKLIN FINANCIAL CORPORATION       1st Franklin Financial Corp.                    Abby Petrone, Legal Mgr.
PO BOX 880                                  Admin Services                                  Castle Credit Co Holdings
TOCCOA GA 30577-0880                        PO Box 880                                      200 S Michigan Ave, Ste 450
                                            Toccoa, GA 30577-0880                           Chicago, IL 60604-2400


American Profit Recovery                    Ashley Boswell, Paralegal                       BB&T Company
34505 W 12 Mile Rd Ste 333                  American InfoSource                             Attn: Bankruptcy
Farmington Hills, MI 48331-3288             4515 N Santa Fe Ave                             Po Box 1847
                                            Oklahoma City, OK 73118-7901                    Wilson, NC 27894-1847


BB&T NOW TRUIST                             Heather D. Bock                                 (p)BB AND T
P O BOX 1847                                McCalla Raymer Leibert Pierce LLC               PO BOX 1847
WILSON                                      1544 Old Alabama Road                           WILSON NC 27894-1847
WILSON, NC 27894-1847                       Roswell, GA 30076-2102


Bureaus Investment Group                    Bureaus Investment Group Portfolio No 15 LLC    (p)SOUTHERN MANAGEMENT
c/o PRA Receivables Management              c/o PRA Receivables Management, LLC             PO BOX 1947
PO Box 41021                                PO Box 41021                                    GREENVILLE SC 29602-1947
Norfolk, VA 23541-1021                      Norfolk VA 23541-1021


CT Corporation System                       Castle Credit Co Holdings                       Castle Credit Co Holdings
RA for Lendmark Financial Svcs              200 South Michigan Avenue                       8420 W Bryn Mawr
289 S. Culver Street                        Suite 450                                       Chicago, IL 60631-3436
Lawrenceville, GA 30046-4805                Chicago, IL 60604-2400


(p)JPMORGAN CHASE BANK N A                  Corporate Creations Network, I                  Corporation Service Company RA
BANKRUPTCY MAIL INTAKE TEAM                 Castle Credit Co Holdings, LLC                  Mariner Finance, LLC
700 KANSAS LANE FLOOR 01                    2985 Gordy Parkway, 1st Fl                      40 Technology Pkwy South #300
MONROE LA 71203-4774                        Marietta, GA 30066-3078                         Norcross, GA 30092-2924


Cynthia Stephens, Manager                   Directv                                         Directv, LLC
Southern Management Corp.                   by American Infosource                          by American InfoSource as agent
PO Box 1947                                 4515 N Santa Fe Ave                             4515 N Santa Fe Ave
Greenville, SC 29602-1947                   Oklahoma City, OK 73118-7901                    Oklahoma City, OK 73118-7901


Dovenmuehle Mortgage, Inc                   Dovenmuehle Mortgage, Inc                       Dunlap Gardiner LLP
1 Corporate Drive                           Attn: Bankruptcy                                for Lake Iris at WIlliamsburg
Lake Zurich, IL 60047-8945                  1 Corporate Dr, Ste 360                         5604 Wendy Bagwell Pkwy # 923
                                            Lake Zurich, IL 60047-8945                      Hiram, GA 30141-7819


Evan Barnard                                (p)GEORGIA DEPARTMENT OF REVENUE                Geraldine Davis, CIO Team Mgr.
Dunlap Gardiner LLP                         COMPLIANCE DIVISION                             IRS
5604 Wendy Bagwell Pkwy # 923               ARCS BANKRUPTCY                                 PO Box 7346 5-Q30.133
Hiram, GA 30141-7819                        1800 CENTURY BLVD NE SUITE 9100                 Philadelphia, PA 19101-7346
                                            ATLANTA GA 30345-3202
               Case 21-54419-pmb       Doc 37   Filed 04/12/22            Entered 04/12/22 16:16:56      Desc Main
Laura A. Grifka                            Heather Folse, Bank. Spec.
                                              Document           Page 10 of 12             IRS
McMichael Taylor Gray, LLC                 Republic Finance, LLC                           Centralized Insolvency Oper.
3550 Engineering Drive                     282 Tower Rd                                    P. O. Box 7346
Suite 260                                  Ponchatoula, LA 70454-8318                      Philadelphia, PA 19101-7346
Peachtree Corners, GA 30092-2871

A. Michelle Hart Ippoliti                  JPMorgan Chase Bank, N.A.                       (p)JEFFERSON CAPITAL SYSTEMS LLC
McCalla Raymer Leibert Pierce, LLC         s/b/m/t Chase Bank USA, N.A.                    PO BOX 7999
1544 Old Alabama Road                      c/o Robertson, Anschutz & Schneid, P.L.         SAINT CLOUD MN 56302-7999
Roswell, GA 30076-2102                     6409 Congress Avenue, Suite 100
                                           Boca Raton, FL 33487-2853

Joanna Graef, Bank. Clerk                  Katie-Lynn Murphy, Assist. Mgr                  Kristi J Cheek, Admin
PRA Receivables Mgmt LLC                   Mariner Finance, LLC                            1st Franklin Financial Corp
PO Box 41021                               8211 Town Center Drive                          PO Box 880
Norfolk, VA 23541-1021                     Nottingham, MD 21236-5904                       Toccoa, GA 30577-0880


Lake Iris at Williamsburg Plantation       Latosha A Moody, AVP                            (p)LENDMARK FINANCIAL SERVICES
Homeowners Assoc., Inc.                    Branch Banking and Trust Co.                    2118 USHER ST
c/o Dunlap Gardiner LLP                    PO Box 1847, 100-50-01-51                       COVINGTON GA 30014-2434
5604 Wendy Bagwell Pkwy Ste 923            Wilson, NC 27894-1847
Hiram, GA 30141-7819

Lendmark Financial Services                Maria Tsagaris                                  Mariner Finance, LLC
Attn: Bankruptcy                           McCalla Raymer Leibert Pierce                   1429 Goodman Road
1735 North Brown Rd, Ste 300               1544 Old Alabama Rd                             Horn Lake, MS 38637-1404
Lawrenceville, GA 30043-8228               Roswell, GA 30076-2102


Mariner Finance, LLC                       Mariner Finance, LLC                            Ciro A. Mestres
8211 Town Center Drive                     Attn: Bankruptcy                                McCalla Raymer Leibert Pierce, LLC
Nottingham, MD 21236-5904                  8211 Town Center Drive                          1544 Old Alabama Road
                                           Nottingham, MD 21236-5904                       Roswell, GA 30076-2102


Midwest Recovery Systems                   Midwest Recovery Systems                        NPRTO Georgia, LLC
514 Earth City Plaza                       Po Box 899                                      265 West Data Drive
Earth City, MO 63045-1303                  Florissant, MO 63032-0899                       Draper, UT 84020



Nathalie Rodriguez, Agent                  Navient                                         Navient
Robertson, Anschutz & Schneid              Attn: Bankruptcy                                Po Box 3229
6409 Congress Ave., Ste 100                P.O. Box 9640                                   Wilmington, DE 19804-0229
Boca Raton, FL 33487-2853                  Wilkes Barre, PA 18773-9640


Navy Federal Credit Union                  Navy Federal Credit Union                       Rushi D. Patel
Jessica Arestad, Bank. Spec.               P.O.BOX 3000                                    The Patel Law Group, LLC
PO Box 3000                                MERRIFIELD, VA 22119-3000                       1995 North Park Place, SE
Merrifield, VA 22119-3000                                                                  Suite 565
                                                                                           Atlanta, GA 30339-2240

(p)REPUBLIC FINANCE LLC                    Robertson, Anschutz & Schneid                   Sally Beltran, Bank. Spec.
282 TOWER RD                               for JPMorgan Chase Bank                         Westlake Financial Services
PONCHATOULA LA 70454-8318                  6409 Congress Ave, Suite 100                    4751 Wilshire Blvd, Suite 100
                                           Boca Raton, FL 33487-2853                       Los Angeles, CA 90010-3847
               Case 21-54419-pmb             Doc 37       Filed 04/12/22           Entered 04/12/22 16:16:56            Desc Main
Shannon Parker, Bank. Manager                        (p)STALLINGS
                                                        Document  FINANCIALPage
                                                                            GROUP 11 of 12                U.S. Bank National Association
World Acceptance Corp                                ATTN JANET                                           C/O Rushmore Loan Management Services
PO Box 6429                                          407 ATLANTA ST                                       P.O. Box 52708
Greenville, SC 29606-6429                            MARIETTA GA 30060-2226                               Irvine CA 92619-2708


USAA Federal Savings Bank                            USAA Savings Bank                                    United States Attorney
10750 Mcdermott Freeway                              9800 Fredericksburg Rd                               Northern District of Georgia
San Antonio, TX 78288-1600                           San Antonio, TX 78288-0002                           75 Ted Turner Drive SW, Suite 600
                                                                                                          Atlanta GA 30303-3309


Village Capital & Investment                         Village Capital & Investment, LLC                    (p)WESTGATE RESORTS
1 Corporate Drive, Ste 360                           Bankruptcy Department                                ATTN MANDY BUSKIRK
Lake Zurich, IL 60047-8945                           1 Corporate Drive                                    2801 OLD WINTER GARDEN ROAD
                                                     Suite 360                                            OCOEE FL 34761-2965
                                                     Lake Zurich, IL 60047-8945

Westlake Financial Services                          Westlake Financial Services                          Westlake Services, LLC
4751 Wilshire Bvld, Ste 100                          Attn: Bankruptcy                                     Jefferson Capital Systems LLC Assignee
Los Angeles, CA 90010-3847                           Po Box 76809                                         Po Box 7999
                                                     Los Angeles, CA 90076-0809                           Saint Cloud MN 56302-7999


World Acceptance Corp                                World Acceptance/World Finance                       World Acceptance/World Finance
PO Box 6429                                          2640b Metropolitan Pkwy                              Attn: Bankruptcy
Greenville, SC 29606-6429                            Atlanta, GA 30315-7921                               Po Box 6429
                                                                                                          Greenville, SC 29606-6429


World Finance Company of Georg                       World Finance c/o World Acceptance Corp.
Attn: CT Corporation System, R                       Attn: Bankruptcy Processing Center
289 S. Culver St                                     PO Box 6429
Lawrenceville, GA 30046-4805                         Greenville, SC 29606-6429




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


1st Franklin Financial Corp                          Branch Banking & Trust                               COVINGTON CREDIT GA0012
Attn: Virginia Herring, CEO                          BB&T now Truist                                      c/o SOUTHERN MANAGEMENT
135 E Tugalo Street                                  P.O. Box 1847, 100-50-01-51                          ATTN BK
Toccoa, GA 30577                                     Wilson, NC 27894                                     PO BOX 1947
                                                                                                          GREENVILLE, SC 29602

Chase Card Services                                  (d)Chase Card Services                               (d)Covington Credit
PO Box 15298                                         Po Box 15369                                         PO Box 1947
Wilmington, DE 19850                                 Wilmington, DE 19850                                 Greenville, SC 29602



Georgia Dept. of Rev.                                Jefferson Capital Systems, LLC                       Lendmark Financial Services
Compl. Div. - ARCS Bankruptcy                        PO Box 7999                                          2118 Usher St.
1800 Century Blvd NE, Ste 9100                       Saint Cloud, MN 56302                                Covington, GA 30014
Atlanta, GA 30345
               Case 21-54419-pmb             Doc 37       Filed 04/12/22         Entered 04/12/22 16:16:56              Desc Main
(d)Lendmark Financial Services, LLC                  Republic Finance LLC Page 12 of 12
                                                        Document                                          (d)Republic Finance,LLC
2118 Usher Street                                    282 Tower Rd                                         282 Tower Rd
Covington, GA 30014                                  Ponchatoula, LA 70454                                Ponchatoula,La 70454



Stallings Financial Group                            (d)Stallings Financial Group, Inc                    Westgate Resorts
1111 S. Marietta Parkway Ste B                       PO Box 4430                                          5601 Windhover Drive
Marietta, GA 30060                                   Marietta, GA 30061                                   Orlando, FL 32819




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Navy Federal Credit Union                         End of Label Matrix
PO Box 3000                                          Mailable recipients    76
Merrifield, VA 22119-3000                            Bypassed recipients     1
                                                     Total                  77
